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   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10
        CAMERON GAINER, an individual               Case No.: 8:17-CV-00672
  11
                       Plaintiff,                   [Hon. James V. Selna]
  12
               vs.                                  ORDER SETTING HEARING
  13                                                DATE FOR MOTIONS FOR
        THE KETCHUM GROUP, INC.,et al,              SUMMARY JUDGMENT
  14
                       Defendant.
  15

  16         PURSUANT TO THE STIPULATION OF THE PARTIES, AND GOOD
  17   CAUSE APPEARING THEREFOR, IT IS HEREBY ORDERED THAT:
  18         1.       Plaintiff shall file its Motion for Summary Judgment on or before May
  19   28, 2018;
  20         2.       Plaintiff’s Motion for Summary Judgment shall be set for hearing on
  21   July 2, 2018, at 1:30 p.m.
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                     ORDER SETTING HEARING DATE FOR MOTIONS FOR SUMMARY JUDGMENT
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   1         3.     Defendant’s previously filed Motion for Summary Judgment [ECF No.
   2   40] shall be re-set for hearing on July 2, 2018, at 1:30 p.m.
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   4         SO ORDERED
   5
         DATED: May 21, 2018              By                             ________
   6                                            Hon. James V. Selna
                                          United States District Judge CAMERON
   7                                      GAINER
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                   STIPULATION RE HEARING DATE FOR MOTIONS FOR SUMMARY JUDGMENT
